                        OPINION AND JOURNAL ENTRY
This issue arises out of Petitioner's Petition for Writ of Habeas Corpus whereby Petitioner alleges he is wrongfully incarcerated by the Respondent and the State of Ohio due to the fact that he was not properly credited for "time served" and thus his maximum period of incarceration has expired and he should be released immediately.
On November 30, 1998, this Petitioner filed a petition for a writ of habeas corpus in this court (Case No. 261) raising the same issue as in this instant case. On February 18, 1999, this court dismissed the Petitioner's petition for writ of habeas corpus finding that Petitioner had not complied with the Ohio Revised Code requirements for habeas corpus.
Also, Petitioner has filed an affidavit stating that he has not filed "any civil actions in the last five years." Petitioner's petition for writ of habeas corpus of November 30, 1998 constitutes a civil action which has been filed within the last five years, pursuant to R.C. 2962.25
Failure to attach an affidavit which describes each civil action or appeal of a civil action the inmate has filed in the previous five years on any state or federal court is grounds for dismissal. Zanders v. Ohio Parole Board (1998), 82 Ohio St.3d 421.
Petitioner has failed to file an affidavit describing a civil action which he filed in this court on November 30, 1998 in violation of R.C. 2926.25.
For the reasons cited above, Petitioner's Petition for Writ of Habeas Corpus is dismissed.
Respondent's motion to dismiss is granted.
Costs taxed against Petitioner.
Final order. Clerk to serve a copy of this order to the parties as provided by the Civil Rules.
  ____________________ PER CURIAM.
Cox, P.J., concurs
Donofrio, J., concurs
Vukovich, J., concurs.